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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

RAYNE UPTON, individually and
                            *   CIVIL ACTION NO. 21-407
on behalf of her minor daughter, G.H.
                            *
                            *   SECTION: “J”
VERSUS                      *   JUDGE BARBIER
                            *
RODNEY VICKNAIR, et al      *   MAG. DIV. (4)
                            *   MAGISTRATE JUDGE ROBY
                            *
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         OPPOSITION TO DEFENDANT’S MOTION IN LIMINE (R. DOC. 181)

        Defendant moves to exclude six exhibits: Ex. 41 (Chapter 41-8 of the NOPD Operations

Manual); Ex. 42 and 43 (transcripts from the sentencing hearings of Rodney Vicknair); Ex. 44,

(the report of Plaintiff’s expert witness Shannon Smith); Ex. 45, (screenshots of a Snapchat request

from Vicknair); and Ex. 47, (threats made to G.H. on Snapchat).

        Additionally, Defendant argues that this Court should bar Plaintiff from 1) questioning

any witness concerning the term habitual offender, and 2) presenting any evidence, testimony, or

argument concerning an alleged Monell violation based on hiring Rodney Vicknair.

        But the relevance of several of these items was resolved at the summary judgment stage.

See R. Doc. 157 at 22-23 (holding that Vicknair’s status as a NOPD-defined habitual offender was

among the facts that “a jury could reasonably find” proved a Monell claim). And the City’s

remaining requests are unsupported by authority or contrary to caselaw. The City’s motion should

be denied.

1.     This Court should deny the City’s motion with regard to Exhibit 41 because this
       Court already determined that the City’s “habitual offender” definition is relevant to
       the Monell claim.

       The City seeks to exclude Exhibit 41. This exhibit is a chapter from the New Orleans Police

Department Operations Manual. It provides NOPD’s definition of a “habitual offender,” which is



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any “person with a criminal history of two or more felony convictions or five or more felony or

misdemeanor arrests for any offense.” Ex. 41 at 2. The “habitual offender” definition is tied to the

City’s 30(b)(6) testimony, in which 30(b)(6) witness David Barnes testified that the City should

not have hired a person who met this definition.1

           The City objects to the exhibit on the grounds of relevance. But this Court already assessed

the relevance of the “habitual offender” definition. In ruling on summary judgment, this Court

determined that:

          G.H. has identified additional facts in the record which could allow a reasonable
          jury to find that the decision to hire Vicknair reflects deliberate indifference to the
          particular risk that the violation she alleges would follow from his hiring. First, at
          the time of his hiring, NOPD was aware that Vicknair had five arrests on his
          criminal record, which qualifies him as a “habitual offender” under the NOPD’s
          own rules. . . .

          On these facts, a jury could reasonably find that the harm G.H. alleged was the
          likely result of the failure of a reasonable supervisor to adequately screen and
          scrutinize Vicknair’s disciplinary history and that the NOPD acted with deliberate
          indifference to that risk.2

          The City did not request reconsideration of that ruling. Nor does the City acknowledge

the ruling in its Motion in Limine, or articulate any reason why this Court’s ruling was wrong.

          The City also objects to Exhibit 41 because it is unclear whether the policy was in effect

at the time of Vicknair’s hiring. But that misses the point; Plaintiff is not offering the exhibit to



1
 R. Doc. 135-9 (Dep. of Sgt. David Barnes) at 28:4-19.
       Q.       Right. So the City should not be hiring applicants who meet this Chapter 41.8 6 definition
                of habitual offender, agreed?
       A.       I would agree that they shouldn't be hiring that -- let me clarify. The City, so to speak,
                they shouldn't be hiring someone who meets this definition to be a police officer, right.
       Q.       And was that true at the time when you were hired?
       A.       Absolutely.
       Q.       And I don't know if you know this, but were you hired at the same time as Rodney
                Vicknair?
       A.       I was hired prior to Officer Vicknair from my understanding.”
2
    R. Doc. 157 at 22-23 (emphasis added).


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show that the City violated its own policy; instead, the policy provides a reasonable benchmark

for who the City concedes should not be hired – which the City’s 30(b)(6) agreed was

“absolutely” as true at that time as it is today.3 The motion in limine should be denied.

2.      This Court should deny the City’s motion with regard to the use of the term “habitual
        offender,” because that term appears in NOPD policy, state law, and thousands of
        cases, and because multiple courts have found it to be permissible.

        The City argues that the term “habitual offender” is inflammatory and would cause undue

prejudice, and may confuse the jury because it is unclear whether the policy that articulated the

term in writing was in effect at the time of Vicknair’s hiring.

        The City offers no authority in support of this position. Nor is it reasonable to think the

term is inherently inflammatory, given that it appears in NOPD policy, state law (Code. Cr. Proc.

Art. 971(4)), and more than 10,000 cases in a LexisNexis search.

        In fact, those courts that have reviewed an argument like the City’s have rejected it. For

example, in Martin v. Addison, 2011 U.S. Dist. LEXIS 67492 (W.D. Ok. May 19, 2011), a

defendant argued that “prosecutor made improper, prejudicial comments during final closing

argument, calling him a ‘habitual offender.’” Both the Oklahoma Court of Criminal Appeals and

the Oklahoma Western District Court agreed that the use of the term was permissible and “could

not have influenced the jury's finding of guilt.” Id. Here, the City has a far weaker claim to

prejudice than the defendant in Martin, given that the term “habitual offender” is taken from the

City’s own policy manual. The motion should be denied.




3
 See R. Doc. 135-9 (Dep. of Sgt. David Barnes) at 28:15-19 (the “don’t hire habitual offenders” principle
was true at the time of Barnes’ hiring, which came before Vicknair’s hiring).


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3.     This Court should deny the City’s motion with regard to the sentencing transcripts
       (Exhibits 42 and 43) because that issue was already addressed at the pre-trial
       conference.

       Defendant moves to exclude portions of the Vicknair’s sentencing hearing transcripts. This

topic was addressed at the pre-trial conference: Plaintiff understands that this Court would require

the redaction of statements made by Judge Africk and persons other than Vicknair (except insofar

as to provide the questions Vicknair was answering), and Plaintiff will redact that information. At

present, statements made by Vicknair are relevant and not prejudicial as Defendant seeks to

introduce contradictory deposition testimony. See R. Doc. 177. Additionally, they fall within the

unavailable declarant exception to hearsay. Fed. R. Evid. 804(a)(4).

4.     This Court should deny the City’s motion with regard to the expert report (Exhibit
       44) because it will only be offered if Plaintiff’s expert witness becomes unavailable.

       Defendant moves to exclude Exhibit 44, Plaintiff’s expert’s report, as cumulative to the

expert’s testimony. Plaintiff will not offer this exhibit as evidence, however, unless the expert

becomes unexpectedly unavailable – for example, due to sickness or other accident. For that

reason, the motion should be denied.

5.     This Court should deny the City’s motion with regard to Vicknair’s Snapchat contact
       with G.H. (Exhibit 45) because it is probative of trauma suffered by Plaintiff.

       Defendant moves to exclude Exhibit 45, a document showing that Vicknair attempted to

contact Plaintiff on the social media platform, Snapchat, after his sentencing. Defendant objects

to this exhibit under “F.R.E. 401, 402, 403, 702, 801-802” and authenticity. R. Doc. 163 at 13.

       Plaintiff has personal knowledge of this exhibit and will give testimony at trial sufficient

to authenticate it – she took the screenshots and sent it to undersigned counsel and her mother,

who alerted the FBI. The City contends that there is “no evidence that whoever supposedly made

contact with Plaintiff via Snapchat at this time was actually Mr. Vicknair.” R. Doc. 181-1 at 5.




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That is incorrect; the second page of the exhibit shows that Snapchat said “Officer Rodney added

you as a friend! IN MY CONTACTS” and the third page of the exhibit shows that G.H.’s phone

contacts identified Vicknair’s phone number as “Officer Rodney.” That indicates that a person

tried to contact G.H. with Vicknair’s phone, which is a piece of evidence tending to indicate that

Vicknair tried to contact her.

       This exhibit is also relevant to Plaintiff’s mental state, distress, suffering and damages, as

it is more probative of the trauma and harm inflicted on Plaintiff than it is prejudicial to Defendant.

That is because it shows that Vicknair was continuing to try to contact her even after he was

convicted and sentenced. That was extremely disturbing to the Plaintiff, who had thought that the

criminal proceeding would have been sufficient to prevent any contact. The screenshot is not

hearsay because it is not being offered for the truth of the matter asserted, but is being offered to

prove Plaintiff’s response of experiencing distress and fear. It would also fall within the

unavailable declarant exception to hearsay, because Vicknair is dead. Fed. R. Evid. 804(a)(4). The

motion in limine should be denied.

6.     This Court should deny the City’s motion with regard to threats Plaintiff received
       (Exhibit 47), as they are probative of trauma suffered by Plaintiff.

       Exhibit 47 is a set of threats that anonymous persons made to the Plaintiff after news of

Vicknair’s rape became public. In one, a person lauds Vicknair’s actions. In another, a person

threatens to drug Plaintiff, rape her, and leave her in the woods. In a third, a person makes

extremely sexually suggestive overtures to Plaintiff. Defendant objected and has moved to

exclude this exhibit on grounds of relevance, prejudice, and authenticity. Defendant offers no

authority other than a general reference to the applicable Federal Rules of Evidence.

       The motion should be denied. Regarding authenticity, Plaintiff has knowledge of this

exhibit and will give testimony at trial sufficient to authenticate it, as she took the screenshots.



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          Regarding relevance, the exhibit is relevant to Plaintiff’s mental state, distress, suffering

and damages, it is more probative of the trauma and harm inflicted on Plaintiff than it is prejudicial

to Defendant. Additionally, the screenshot is not being offered for the truth of the matter asserted

– it does not matter whether the anonymous person actually intended to rape the Plaintiff – but is

being offered to prove Plaintiff’s experience of distress and fear that flowed from Vicknair’s

actions. Plaintiff was fearful that these threats were sent by Vicknair, who was out on bail for an

extended period of time. And such threats are a reasonably foreseeable result of sexual assault. For

example, a 2016 study of more than 4,000 comments on 52 articles about rape found that more

than one in four comments contained “victim blaming statements,” and that “perpetrator support

comments were found responding to every article collected, except for one.”4 Given that such

threats against sexual trauma victims are so common, they therefore are reasonably foreseeable

and relevant to the question of damages flowing from Vicknair’s conduct. The motion should be

denied.

7.        This Court should deny the City’s motion with regard to the pleading of the Monell
          claim, given that a “complaint need not plead legal theories.”

          Finally, the City seeks to use a motion in limine to ask this Court revisit its ruling on

summary judgment. The City asks that the court “evidence, testimony or argument of a Monell

violation based on hiring of Rodney Vicknair” on the idea that the legal theory was not sufficiently

plead in the complaint. R. Doc. 181-1 at 5-6.

          But as discussed at the pre-trial conference, a “complaint need not plead legal theories.”

Hess v. Garcia, 72 F.4th 753, 757 (7th Cir. 2023). Instead, “a pleading is sufficient if the factual

allegations support liability . . . under any legal theory.” Hankins v. Wheeler, 21-cv-01129-EEF-


4
 Zaleski, et al., Exploring rape culture in social media forums, Computers in Human Behavior, 63:922-
927 (Oct. 2016), available online at
https://www.sciencedirect.com/science/article/abs/pii/S0747563216304642 (emphasis added).


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JVM, R. Doc. 77 (E.D. La. June 21, 2022). Here, improper hiring is mentioned in paragraphs 16,

18, 179, and 197 of the Amended Complaint. And after briefing by the parties, this Court’s ruling

on summary judgment allowed Plaintiff’s “Monell claim as to improper hiring” to proceed. R.

Doc. 157 at 34.

       Furthermore, the City has been on actual notice of the Monell hiring legal theory for more

than a year, given that in R. Doc. 72 (filed January 30, 2023), the City directly connected

“Plaintiff’s claim of municipal liability” to allegations that the City failed “to properly screen,

during the hiring process, and supervise thereafter, male officers to eliminate sexually predatory

and abusive behavior towards vulnerable populations.” R. Doc. 72. Thus, the City has long had

fair notice of this legal theory. And it specifically identified exhibits and witnesses to defend itself

from the legal theory. See, e.g., R. Doc. 112 at 7 (City’s December 2023 witness list, identifying

Lt. Nicole Powell to testify about “NOPD policy, procedures, and practices relating to hiring,

supervision and termination of NOPD officers and Vicknair.”) The motion should be denied.

                                          CONCLUSION

       For the reasons stated above, Plaintiff respectfully requests that Defendant’s Motion in

Limine be denied.

                                                        Respectfully submitted,

                                                        /s/ William Most
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